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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

PEDRO LOPEZ, ET AL.,

V. SUMMONS IN A CIVIL CASE

CITY OF LAWRENCE, MASSACHUSETTS, ET
AL,

CASE NUMBER: 1:07-CV-11693-JLT

TO:(Name and address of Defendant)

City of Lowell

City Hall

375 Merrimack Street
Lowell, MA 01852

YOU ARE HEREBY SUMMONED and required to serve on

Leah Marie Barrault

Pyle, Rome, Lichten, Ehrenberg & Liss-Riordan, P.C.
18 Tremont Street, Suite 500

Boston, MA 02108

a answer to the complaint which is served on you with this summons, within 20 days after

service of this summons on you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint. Any answer that you serve
on the parties to this action must be filed with the Clerk of this Court within a reasonable period

of time after service.

SARAH ALLISON THORNTON
CLERK

/s/ — Kimberly M. Abaid
(By) DEPUTY CLERK.

USDC DMA
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RETURN OF SERVICE

Trae

Middlesex Sheriff's Office Civil Process Division, P.O. Box 74 35, Lowell, MA 01852-0135 « (978) 452-3294
Middlesex, ss.

eer : January 9 2008
Thereby certify and return thet sn 1/9/2008 at 2:50PRAT sert 6 2008

{ hereb bon Lev2one ved 3 nue and attested cow of the STTLIMONS AND
COME Aires : mes s RB BRS ES SUAS SOD Of tie GUM MOn AND
a a Tinihs action m the tollowing manner: To wit, by delivering in hend te KAREN GAGHON, agent, persen
chara thesis of service for CITY OF LOWELL, at , 375 MERRIMACK Strest. CITY HALL Lowell MA
1853. Atte 5, 00%, Basic Service Fee f5 %, Conrersnce aze and Handti * Te ¢
Total Changes 352 oo £ (P3000), Cony ay SPCe C30. OO}, Postage and Handling CSL, Travel CBs. RS

Deputy Sheriff

C) Other (specify) :

STATEMENT OF SERVICE FEES

TRAVEL . SERVICES TOTAL

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

G21) WHO

Executed on

Date Signature af Server

Address of Server

